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                                        ORIGINAL
                        IN THE UNITED STATES DISTRICT COURT

                      FOR THE SOUTHERN DISTRICT OF GEORGIA

                                      AUGUSTA DIVISION

UNITED STATES OF AMERICA                     )

              VS.                            )                     CASE NO: CR115-106-01

                                              )
MACK LAKES, JR.,

                                          ORDER


       The defendant, Mack Lakes, Jr., was only sentenced to probation.

       Surety, Mack Lakes, Sr., has requested the return of the $2,000.00 cash security posted

on the defendant's $20,000.00 bond.

       IT IS HEREBY ORDERED that the cash collateral in the amount of $2,000.00 posted

by Mack Lakes, Sr. for this defendant, plus all accruedinterest thereon, be returned to Mack

Lakes, Sr. at 297 Harrison Rd., Waynesboro, GA 30830.

       This _^y_day of        0u>uX               2017 at Augusta, Georgia.


                              HONORABLE J. RAND&L HALL
                              UNITED STATES DISTRICT JUDGE
                             -SQU3HEKNDISTRICT OF GEORGIA
